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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

R.J. ZAYED, In His Capacity               )                CIVIL ACTION
As Court-Appointed Receiver               )
For The Oxford Global Partners, LLC,      )           File No.:
Universal Brokerage FX, and Other         )
Receiver Entities,                        )
                                          )                 COMPLAINT
              Plaintiff,                  )
v.                                        )         JURY TRIAL DEMANDED
                                          )
Associated Bank, N.A.,                    )
                                          )
              Defendant.                  )



      R.J. Zayed, in his capacity as Court-appointed Receiver (the “Receiver”) for UBS

Diversified Growth, LLC d/b/a UBS Diversified, Market Shot, LLC, Oxford Global

Advisors, LLC, Oxford Global Partners, LLC, Oxford Global FX, LLC, Oxford FX

Growth, L.P., and various other entities controlled by them (the “Receivership Entities”)

files this Complaint against Defendant Associated Bank, N.A. and alleges as follows:

                               NATURE OF THE CASE

      1.     This matter involves a prolific Ponzi scheme, which took an estimated $190

million from investors over the course of three years. The operators of the Ponzi scheme

were Trevor Cook, Patrick Kiley, Chris Pettengill, Gerald Durand, and Jason Bo-Alan

Beckman. Cook is currently serving a twenty-five year prison sentence for pleading

guilty to his role in the massive fraud. (Ex. 1) Pettengill entered a plea agreement as to

wire fraud, securities fraud and engaging in monetary transactions in property derived

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from unlawful activity. After cooperating with the government, Pettengill was sentenced

to a seven and a half year prison term on January 3, 2013. (Ex. 2) Beckman, Durand, and

Kiley have been convicted by jury on numerous counts of fraud for their roles in the

Ponzi scheme. Beckman and Durand were also sentenced on January 3, 2013. Beckman

received a thirty-year prison sentence, Durand received a twenty-year prison sentence,

and Kiley awaits sentencing.

      2.     R.J. Zayed is the Court-appointed Receiver (hereafter, alternately referred

to as “Receiver” or “Plaintiff”) for Oxford Global Partners, LLC, Oxford Global FX,

LLC, Oxford FX Growth, L.P., Universal Brokerage FX Management, LLC, Market

Shot, LLC, and various other entities controlled by them (hereafter referred to

collectively as “Receiver Estate”, “Receiver Estates”, or “Receivership Estate”). The

Receiver brings this action against Associated Bank, NA (hereafter, alternately referred

to as “Associated Bank”, “the Bank”, or “Defendant”).

      3.     The Ponzi scheme at issue in this Complaint concerned a purported

currency-trading program (the “Currency Program”) designed and promoted by Cook,

Kiley and Shadi Swais of Crown Forex, SA, a Swiss Forex trader. The pitch was to have

Cook and Kiley to use the Receiver Estates to promote investing with Crown Forex, SA

which allegedly had the foreign currency trading expertise to generate a guaranteed return

in excess of 10% per year with total liquidity 24 hours a day, seven days a week. In

addition, investors were promised that their funds would be held in individual, segregated

accounts. These promises were false.

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       4.       For the Currency Program to succeed, Cook, Kiley and Shadi Swais needed

a cooperative bank, a bank that would allow sham accounts to be opened in the name of

fictitious entities, create account documentation containing false information designed to

avoid scrutiny, ignore federal money laundering regulations, ignore internal procedures,

provide false and misleading information to investors and assist in the transfer of investor

money to their own accounts, among other things. They turned to Associated Bank and

with the Bank’s substantial assistance, the Currency Program took in over $79 million in

investor funds.

       5.       For example, when Cook, Kiley and Shadi Swais first discussed the

Currency Program with Associated Bank, Vice President Lien Sarles (“Sarles”) was told

that the plan was to have Crown Forex, SA open an account at Associated Bank to

directly receive investor funds. Associated Bank advised that opening an account for the

foreign domiciled Crown Forex, SA would create regulatory difficulties. Instead,

Associated Bank recommended opening an account for a similarly named domestic LLC

to receive investor funds, which would be subsequently transferred out of the United

States to Crown Forex, SA. The account that was opened to accomplish this was the

Crown Forex LLC account #1705. (Ex. 3, at 1763-1764—Deposition of Trevor Cook) As

with the Currency Program, Crown Forex LLC and its Associated Bank account #1705

were a fraud.

       6.       The Crown Forex LLC account #1705 was at all times a sham account

opened to a fictitious entity. Crown Forex LLC was never registered with the State of

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Minnesota or any other governmental authority. Associated Bank knew this and still

opened the account:




(Ex. 4—Affidavit of former Associated Bank Vice President Lien Sarles)




      8.     Even warnings that the account would be closed or frozen for lack of proper

documentation by the Bank’s Monitoring Department were ignored by the Associated

Bank employees working at the branch where millions had already been deposited into

the Crown Forex LLC account #1705:




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(Ex. 4—Vice President Sarles Affidavit)




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      11.   Associated Bank also helped Cook obtain $600,000 in cash from the

investor funds in the Crown Forex LLC account #1705 by transferring the necessary

funds from account #1705 to Cook’s own account at the Bank, making special

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arrangements to have the cash on hand, and then allowing Cook to stuff the cash into a

box and walk out the door under the pretext of buying a yacht. (Ex. 4, ¶¶ 23-24—Vice

President Sarles Affidavit)




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       13.   Associated Bank knowingly aided and abetted one of the largest Ponzi

schemes in Minnesota’s history. As demonstrated above and in further detail below, at a

minimum, Associated Bank engaged in and observed enough atypical banking activities

and other circumstantial evidence to have actual knowledge of the fraud. Alternatively,

Associated Bank was willfully indifferent to the fraud by ignoring the warnings raised

about the Crown Forex LLC account #1705, Cook and Kiley’s other suspicious activities,

and by failing to investigate the suspicions thereby charging Associated Bank with

knowledge of the fraud. Furthermore, the bank substantially assisted the fraud by opening

the Crown Forex LLC account knowing its connection to Crown Forex, SA and the

purpose of investor funds deposited therein, failing to conform with Bank and Bank


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Secrecy Act/Anti-money-laundering (“BSA/AML”) guidelines on business and personal

accounts, despite serious red flags of fraud and insolvency, and through many other

forms of assistance detailed above and below.

                            JURISDICTION AND VENUE

       14.    This Court has original jurisdiction under 28 U.S.C. § 1332 because the

amount in controversy exceeds $75,000 and there is complete diversity of citizenship

between the parties. This Court also has subject matter jurisdiction over this action

pursuant to 28 U.S.C. §§ 754, 1692, 1367 and Federal Rule of Civil Procedure

4(k)(1)(C).

       15.    Further, within ten days of his appointment, the Receiver filed the original

Complaint and Order Appointing the Receiver in all United States District Courts

pursuant to 28 U.S.C. §§ 754 and 1692, giving this Court in rem and in personam

jurisdiction in each district where the Complaint and Order have been filed.

       16.    Venue is proper in this district under 28 U.S.C. § 1391(b) because a

substantial part of the events giving rise to the claim occurred, and the resulting damages

were sustained, in Minnesota.

       17.    Venue is also proper in the District of Minnesota because the Receiver was

appointed in this District to marshal, preserve, account for, and liquidate the assets

subject to the Receivership Orders and because the damages at issue in this action are

Receivership Assets.



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               THE PARTIES AND PONZI SCHEME PRINCIPALS

       18.   Plaintiff was appointed as Receiver for the estates of, inter alia, Trevor G.

Cook, Patrick J. Kiley and various other entities controlled by them (“Receivership

Entities”) by the United States District Court for the District of Minnesota, Chief Judge

Michael J. Davis presiding, on November 23, 2009 in the cases of SEC v. Cook et al., 09-

cv-3333, and CFTC v. Cook et al., 09-cv-3332, and on March 8, 2011 in the case of SEC

v. Beckman et al., 11-cv-574. Order Appointing Receiver, No. 09-cv-3333, Doc. 13 (D.

Minn. Nov. 23, 2009); Ex Parte Statutory Restraining Order, No. 09-cv-3332, Doc. 21

(D. Minn. Nov. 23, 2009); Second Amended Order Appointing Receiver, No. 09-cv-3333,

Doc. 68 (D. Minn. Dec. 11, 2009); Order Continuing Appointment of the Temporary

Receiver, No. 09-cv-3332, Doc. 96 (D. Minn. Dec. 11, 2009); Order Appointing

Receiver, No. 11-cv-574, Doc. 10 (D. Minn. Mar. 8, 2011).

      19.    Pursuant to the Court’s Receivership Orders, the Receiver stands in the

place of the Receivership Entities and is authorized to pursue all suits which may be

brought by the Receivership Entities. Second Amended Order Appointing Receiver, No.

09-cv-3333, Doc. 68 at 3 (D. Minn. Dec. 11, 2009); Order Continuing Appointment of the

Temporary Receiver, No. 09-cv-3332, Doc. 96, at 4 (D. Minn. Dec. 11, 2009); Order

Appointing Receiver, No. 11-cv-574, Doc. 10, at 3 (D. Minn. Mar. 8, 2011). The

Receivership Entities include “every other corporation, partnership, trust and/or entity

(regardless of form) which is directly or indirectly owned by or under the direct or

indirect control of Cook or Kiley, or any individual working in concert with any of the

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Defendants . . . .” Second Amended Order Appointing Receiver, No. 09-cv-3333, Doc. 68,

at 2 (D. Minn. Dec. 11, 2009); SEC v. Cook, Complaint, No. 09-cv-3333, Doc. 1, at 1; see

also Ex Parte Statutory Restraining Order, No. 09-cv-3332, Doc. 21, at 7 (D. Minn. Nov.

23, 2009).

       20.    The Receiver Entities include but are not limited to “Universal Brokerage

FX Management, LLC;” “UBS Diversified;” “UBS Diversified, LLC;” “UBS Diversified

Growth, LLC;” “UBS Global Advisors;” and “United Brokerage Services.” These entities

are hereafter referred to collectively as the “UBS Entities.”1

       21.    The Receiver Entities also include but are not limited to “Oxford Private

Client Group;” “Oxford Global Advisors, LLC;” “Oxford Global Holdings;” “Oxford FX

Advisors;” “Oxford FX Management, LLC;” “Oxford Institutional Growth LP;” “Oxford

Global Partners, LLC;” “Oxford Global Partners;” “Oxford Capital Investments;”

“Oxford Capital Holdings, LLC;” and “Oxford Global FX LLC.” These entities are

hereafter referred to collectively as the “Oxford Entities.” (Christopher Pettengill Plea

Agreement, ¶ 3(b)).

       22.    The Ponzi scheme principals used the Oxford and UBS Entities to market

and promote the scheme to investors. They used the entities to employ the pitchmen and

telemarketers that prospected for potential investors and assisted Cook, Kiley, Beckman,



1
 Pettengill Plea Agreement at ¶ 3(a), available at
http://www.justice.gov/usao/mn/downloads/Pettengill%20Plea%20Agreement%20Final
%2006172011.pdf (last accessed January 10, 2013). See also, USA v. Pettengill, No. 11-
cr-192 (D. Minn.)
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Durand and Pettengill (the “Ponzi scheme principals”) in selling the Currency Program to

the investors that attended seminars conducted by the Oxford and UBS Entities. They

were also used as the fronts that provided investors with the instructions on how to

transfer funds to the Crown Forex LLC account #1705 at Associated Bank. (Ex. 11) As a

result of the fraud and other torts perpetrated through them by the Ponzi scheme

principals, the Oxford and UBS Entities are considered to be victims and creditors of the

Ponzi scheme. Zayed v. Peregrine Fin. Group, Inc., No. 12-cv-269, 2012 U.S. Dist.

LEXIS 86468, at *5 (D. Minn. June 22, 2012) (“Because this case involves a Ponzi

scheme, the Receivership Entities are considered victims of the fraud and thus creditors

of the Ponzi scheme.”).

       23.   Trevor G. Cook (“Cook”) is serving a 25-year sentence after pleading

guilty to crimes he committed in furtherance of an admitted fraudulent scheme. At

various times relevant to this Complaint, Cook owned, operated, and was the managing

partner of Oxford Global Advisors, LLC (“Oxford Global Advisors”) and Oxford Global

Partners, LLC (“Oxford Global Partners”). Cook held himself out publicly as the chief

investment director of Oxford Global Partners. Cook also owned and operated Oxford

Global FX and Market Shot and held himself out to be a partner and managing director of

UBS Diversified Growth, LLC d/b/a UBS Diversified (“UBS Diversified”).

       24.   Patrick J. Kiley (“Kiley”) has been convicted for his role in the Ponzi

scheme. Kiley was the owner and founder of UBS Diversified and Universal Brokerage

FX management, LLC (“Universal Brokerage”). At all times relevant to this Complaint,

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Kiley hosted a financial-themed radio show that he used to market the Currency Program.

Kiley has never been registered with the CFTC and has never been associated with any

registered entity. Kiley awaits sentencing for his role in this Ponzi scheme.

       25.       Christopher Pettengill (“Pettengill”) pleaded guilty on June 20, 2011 to

crimes that he committed in connection with the Ponzi scheme. Pettengill was an owner

and founder of Oxford Global Investments Inc. Pettengill was sentenced to 90 months in

prison for his role in this Ponzi scheme.

       26.       Jason Bo-Alan Beckman (“Beckman”) was convicted on over 20 fraud and

money-laundering counts for his role in the fraudulent scheme. Beckman was sentenced

on January 3, 2013 and is serving a 30-year prison sentence. Beckman was the owner and

founder of The Oxford Private Client Group, LLC, an investment advisory firm

registered with the SEC. Beckman was a self-styled equities expert and spoke at a

number of seminars touting his expertise, seminars that were organized by the Oxford

and UBS Entities.

       27.       Gerald Joseph Durand (“Durand”) was convicted on 20 counts for his role

in the Ponzi scheme and was also sentenced on January 3, 2013. Durand is serving a 20-

year prison term. Similar to Kiley, Durand also had a radio show in furtherance of the

Ponzi scheme. Durand was a major contributor to Ponzi scheme investment seminars and

presentations.

       28.       Defendant Associated Bank, N.A. offers banking and financial services

throughout Wisconsin, Illinois, and Minnesota, and including the cities of Saint Louis

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Park and Eagan, Minnesota. Associated Bank is a corporation organized existing under

the laws of the State of Wisconsin, with its principal place of business and headquarters

at 200 North Adams Street, Green Bay, Wisconsin 54301.

       29.   Associated Bank’s branch offices located in Saint Louis Park, Minnesota

and Eagan, Minnesota are where the Ponzi scheme principals banked and had opened at

least seven accounts as follows:

                                   KILEY ACCOUNTS




                                   COOK ACCOUNTS




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                              PETTENGILL ACCOUNT




       30.    Crown Forex, SA was a currency-trading firm with operations in Basel,

Switzerland. (Ex. 2) Crown Forex, SA’s role in the Ponzi scheme was to pretend to be the

firm that was to receive the investor funds, hold them in segregated accounts, and

facilitate currency trades to generate the guaranteed returns. Crown Forex, SA was

operated by Shadi Swais and others representing themselves as foreign exchange experts.

Crown Forex, SA, was under investigation by Swiss authorities by December 2008. By

May 2009, Swiss authorities had frozen all of Crown Forex, SA’s assets, shut the

operation down, and placed it into the Swiss equivalency of bankruptcy. Shadi Swais and

others who controlled Crown Forex, SA have disappeared along with millions of dollars

of investor funds.

       31.    Not a single penny in investor funds was ever directly transferred from the

Crown Forex LLC account #1705 to Crown Forex, SA for trading. Nor was a single

penny in investor trading profits ever directly transferred from Crown Forex, SA to the

Crown Forex LLC account #1705. Instead, despite the knowledge that account #1705

was holding investor funds for use in the Currency Program and was to be on Crown

Forex, SA’s books, Associated Bank assisted in the transfer of millions from account

#1705 to Cook’s own personal bank accounts along with other Receiver related
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accounts—all of which would have been caught and stopped by a bank not acting in

concert with a massive fraud. (See Ex. 12—Declaration of Scott J. Hlavacek, No. 09-cv-

3333, Doc. 4, ¶ 35, Ex. 10 (D. Minn. Nov. 23, 2009) (tracing money flow in and out of

account #1705).)

                        FACTS GIVING RISE TO THIS CASE

      32.      The Receiver incorporates paragraphs 1 through 31 above by reference.




      34.      After Sarles joined Associated Bank in November 2007, his brother,

Michael Behm, who was working for Kiley at the time, introduced Sarles to Kiley. Sarles

subsequently met Cook and Pettengill through Kiley. (Ex. 4, ¶¶ 5, 8) Sometime before

January 2008, Sarles personally met with Kiley at Kiley’s place of business to discuss

doing business with Associated Bank. (Ex. 4, ¶ 9) At that meeting Sarles learned much

about Kiley.



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      35.    First, Vice President Sarles learned, if he already did not know it from his

brother, that Kiley’s place of business was not located in a business setting at all, but

rather, it was located in a suburban home at 12644 Tiffany Court in Burnsville,

Minnesota. (Ex. 1) Kiley’s main office was nothing more than a converted bedroom with

a desk and a few chairs. Vice President Sarles would have also learned that Kiley ran his

radio program, which he used to pitch his investment services, out of the house and that

his brother, Mike Behm, and others were in the basement working the phones to promote

the Currency Program.




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2
 2007 Federal Financial Institutions Examination Council (“FFIEC”) Bank Secrecy
Act/Anti-Money Laundering (“BSA/AML”) Examination Manual, at 45, available at
http://www.ffiec.gov/bsa_aml_infobase/documents/BSA_AML_Man_2007.pdf (last
accessed December 27, 2012). See also 12 C.F.R. § 21.21.
3
    2007 FFIEC BSA/AML Examination Manual, at 57.
4
    2007 FFIEC BSA/AML Examination Manual, at 57, 255.
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(Ex. 14)




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      46.    Once the Crown Forex LLC account #1705 was opened, the Ponzi scheme

principals used the Oxford and UBS Entities to solicit investors for the Currency Program

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through telemarketing, radio broadcasts, investor seminars, personal meetings, word-of-

mouth, and other means. (Christopher Pettengill Plea Agreement, ¶ 3(k).) Investors were

fed false promises claiming that the Currency Program i) would generate an annual return

of 10.5 to 12 percent; (ii) the Currency Program was a safe investment; (iii) the investor

could not lose investment principal; and (iv) the investor could withdraw his or her

investment assets at any time. (Christopher Pettengill Plea Agreement, ¶ 3(l).) The

Currency Program was a continuation of the Ponzi scheme principals’ efforts to defraud

investors, which began by at least January 2007 and ultimately defrauded investors of

over $190 million. (Ex. 1) As Cook and Pettengill’s plea agreements establish, the

financial services and investments being offered through the UBS and Oxford Entities

were massive frauds that took in millions of dollars. (Exs. 1-2)
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         48.   The BSA/AML and its implementing regulations required Associated Bank

to monitor these transfers and deposit account transactions, among other things, to file

suspicious activity reports (“SAR”) where suspicious activity is identified.5 Monitoring

systems include manual systems, automated systems, and employee identification and




5
    31 U.S.C. §5318; 12 C.F.R. §21.21; 12 C.F.R §21.11.

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referral systems.6 Under the BSA/AML, the transfers above would have been flagged by

Associated Bank’s monitoring systems for suspicious activity. The transfers contain “red

flags” of potentially suspicious activities for money laundering, terrorist financing or

other financial crimes, such as transfers of large or round dollar amounts; transfer activity

is repetitive or shows unusual patterns; and unusual transfers of funds occurring among

related accounts or among accounts involving the same or related principals.7 A bank

employee would have reviewed all of these alerted transactions and made a determination

whether or not to file a SAR as required under the BSA/AML. Despite these red flags,

upon information and belief, Associated Bank ignored the above telltale signs and its

legal duties to report suspicious activity, and thereby allowed the Ponzi scheme to

continue.

        49.   After the opening of the fictitious Crown Forex LLC account #1705, a

string of variously named Oxford Global accounts were opened at Associated Bank:

Oxford Global Investments Inc. account #1812 (Pettengill account), Oxford Global

Partners LLC account #2356 (Cook account), and Oxford Global FX LLC account #2331

(Cook account). (Exs. 17-18) As to the Oxford Global FX LLC account #2356, Sarles

understood that the account was to hold investor funds. (Ex. 4, ¶ 10) Yet, again, the

purpose of the account was disguised by identifying it as a “Checking/Money Market”



6
    2007 FFIEC BSA/AML Examination Manual, at 61.
7
    2007 FFIEC BSA/AML Examination Manual at F-1 to F-3.

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account. Moreover, no mention is made that the true purpose of the account was to hold

client funds for use in connection with Cook’s alleged financial advisory services.




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      57.   By the first quarter of 2009 the Monitoring Department of Associated Bank

was threatening to freeze the Crown Forex LLC account #1705 for lack of proper

documentation. (Ex. 4, ¶¶ 18-19) These warnings were ignored and never acted upon

since proper documentation was never obtained for Crown Forex LLC.




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         69.   On February 23, 2012, Associated Bank entered into a Consent Order for

its failure to comply with the requirements of the BSA/AML with the Comptroller of the

Currency of the United States of America. (Ex. 38) On information and belief, the

compliance failures concerned the Ponzi scheme accounts at issue in this Complaint.


                                   COUNT I
                          AIDING AND ABETTING FRAUD

         70.   The Receiver incorporates paragraphs 1 through 69 above by reference.

                         Ponzi Scheme: The Underlying Fraud

         71.   The Ponzi scheme orchestrated by the Ponzi scheme principals has

damaged the Oxford and UBS Entities as a matter of law. Proof of such are the prior

proceedings in which Cook pled guilty to fraud, Pettengill pled guilty to fraud, Kiley,

Beckman and Durand were found guilty of fraud, and related court opinions clearly

articulating that the Oxford and UBS Entities and their creditors have been harmed by the

fraud.

                 Associated Bank Had Actual Knowledge of the Fraud




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 Associated Bank Provided Substantial Assistance to Cook & Kiley




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      81.    Associated Bank, by allowing Cook, Kiley and others to maintain fictitious

accounts and transfer millions to and from the accounts, perpetuated their ability to

continue and expand the Ponzi scheme.

      82.    Associated Bank’s acts and omissions lacked business justification. Taken

together, the facts of this case support a finding that, with profits in mind, Associated

Bank aided and abetted the Ponzi scheme.

      83.    By virtue of Associated Bank’s actions the Oxford and UBS Entities have

sustained substantial injury as a result of the monies they now owe the defrauded

creditors that forwarded funds to the fictitious accounts. Associated Bank is therefore

liable for all damages actually and proximately caused to the Oxford or UBS Entities.

      WHEREFORE, the Receiver demands judgment against Associated Bank for (i)

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actual compensatory, consequential, incidental, special and exemplary punitive damages

in an amount to be proven at trial; (ii) such civil penalties as allowed by law; (iii) pre-

judgment and post-judgment interest as allowed by law; and (iv) such other and further

legal and equitable relief as the Court deems just and proper.

                               COUNT II
             AIDING AND ABETTING BREACH OF FIDUCIARY DUTY

       84.    The Receiver incorporates paragraphs 1 through 83 above by reference.

       85.    At all material times, Cook, Kiley and Pettengill were officers, members,

and/or directors of the Oxford and/or UBS Entities and as such owed them a fiduciary

duty to discharge their duties in good faith, with the care that an ordinarily prudent

officer, member or director in a like position would exercise and in a manner reasonably

believed to be in the best financial interests of the Oxford and UBS Entities.

       86.    Cook, Kiley and Pettengill breached the fiduciary duty owed to the Oxford

and UBS Entities by using the Oxford or UBS Entities to induce investors to invest in the

Currency Program, and subsequently used the investor funds to fuel the Ponzi scheme

and to line their own pockets. Cook, Kiley and Pettengill exhibited a willful, fraudulent,

reckless and/or negligent disregard for the best financial interest of the Oxford and UBS

Entities with no legitimate or justifiable business purpose.




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       88.    By virtue of Associated Bank’s actions the Oxford and UBS Entities have

sustained substantial injury as a result of the monies they now owe the defrauded

investors. Associated Bank is therefore liable for all damages actually and proximately

caused to the Oxford and UBS Entities.

       WHEREFORE, the Receiver demands judgment against Associated Bank for (i)

actual compensatory, consequential, incidental, special and exemplary punitive damages

in an amount to be proven at trial; (ii) such civil penalties as allowed by law; (iii) pre-

judgment and post judgment interest as allowed by law; and (iv) such other and further

legal and equitable relief as the Court deems just and proper.




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                                    COUNT III
                        AIDING AND ABETTING CONVERSION

       89.       The Receiver incorporates paragraphs 1 through 88 above by reference.

       90.       This is claim seeking damages on the grounds of aiding and abetting Cook

and Kiley’s conversion of the funds entrusted to the Oxford or UBS Entities for

investment purposes.

       91.       Cook and Kiley willfully interfered with the personal property of the

Oxford or UBS Entities, without justification and inconsistent with the rights of those

entities which were solely entitled to the use, possession, or ownership of the funds.

       92.       Cook and Kiley wrongfully asserted dominion and control over millions of

dollars of investment funds entrusted to the Oxford or UBS Entities and converted those

funds for purposes other than the intended use, such as the purchase of property in

Panama, interests in foreign financial entities, and various other unauthorized transfers to

third parties.
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       94.    By virtue of Associated Bank’s actions, the Oxford and UBS Entities have

sustained substantial injury as a result of the monies they now owe third party creditors.

Associated Bank is therefore liable for all damages actually and proximately caused to

the Oxford or UBS Entities.

       WHEREFORE, the Receiver demands judgment against Associated Bank for (i)

actual compensatory, consequential, incidental, special and exemplary punitive damages

in an amount to be proven at trial; (ii) such civil penalties as allowed by law; (iii) pre-

judgment and post-judgment interest as allowed by law; and (iv) such other and further

legal and equitable relief as the Court deems just and proper.

                           COUNT IV
   AIDING AND ABETTING FALSE REPRESENTATIONS AND OMISSIONS

       95.    The Receiver incorporates paragraphs 1 through 94 above by reference.




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       98.    By virtue of Associated Bank’s actions and omissions, the Oxford and UBS

Entities have sustained substantial injury as a result of the monies they now owe the

defrauded creditors as a result of their false statements and omissions. Associated Bank is

therefore liable for all damages actually and proximately caused to the Oxford or UBS

Entities.

       WHEREFORE, the Receiver demands judgment against Associated Bank for (i)

actual compensatory, consequential, incidental, special and exemplary punitive damages

in an amount to be proven at trial; (ii) such civil penalties as allowed by law; (iii) pre-

judgment and post-judgment interest as allowed by law; and (iv) such other and further

legal and equitable relief as the Court deems just and proper.



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                             DEMAND FOR A JURY TRIAL


       Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby

demands a jury trial as to all issues so triable.


Dated: January 29, 2013                     Respectfully submitted,

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